                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR11-2025-LRR
 vs.                                             ORDER REGARDING MOTION
                                                 FOR SENTENCE REDUCTION
 DWAYNE APPLING,
                                                       PURSUANT TO
               Defendant.                           18 U.S.C. § 3582(c)(2)




       This matter comes before the court on its own motion under 18 U.S.C. §
3582(c)(2).
       The United States Sentencing Commission recently revised the United States
Sentencing Guidelines (“USSG”) applicable to drug trafficking offenses by changing how
the base offense levels in the drug quantity tables incorporate the statutory mandatory
minimum penalties for such offenses. Specifically, Amendment 782 (subject to subsection
(e)(1)) generally reduces by two levels the offense levels assigned to the quantities that
trigger the statutory mandatory minimum penalties in USSG §2D1.1 and made parallel
changes to USSG §2D1.11. Because Amendment 782 (subject to subsection (e)(1)) alters
the threshold amounts in the drug quantity tables in USSG §2D1.1 and USSG §2D1.11,
many, but not all, drug quantities will have a base offense level that is two levels lower
than before Amendment 782 (subject to subsection (e)(1)).
       The court is statutorily precluded from applying a federal sentencing guideline
amendment retroactively unless the United States Sentencing Commission designates an
amendment for retroactive application. In relevant part, 18 U.S.C. § 3582 provides:
              The court may not modify a term of imprisonment once it has
              been imposed except that . . . in the case of a defendant who

   Case 6:11-cr-02025-CJW-MAR         Document 646      Filed 12/04/15    Page 1 of 5
              has been sentenced to a term of imprisonment based on a
              sentencing range that has subsequently been lowered by the
              Sentencing Commission pursuant to 28 U.S.C. [§] 994(o),
              upon motion of the defendant or the Director of the Bureau of
              Prisons, or on its own motion, the court may reduce the term
              of imprisonment, after considering the factors set forth in [18
              U.S.C. §] 3553(a) to the extent that they are applicable, if such
              a reduction is consistent with applicable policy statements
              issued by the Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also Dillon v. United States, 560 U.S. 817, 826 (2010)
(“Section 3582(c)(2)’s text, together with its narrow scope, shows that Congress intended
to authorize only a limited adjustment to an otherwise final sentence and not a plenary
resentencing proceeding.”); United States v. Auman, 8 F.3d 1268, 1271 (8th Cir. 1993)
(“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”).
       The United States Sentencing Commission promulgated USSG §1.B1.10 to
implement 28 U.S.C. § 994(u) and to provide guidance to a court when considering a
motion under 18 U.S.C. § 3582(c)(2). In relevant part, USSG §1B1.10 states:
              In a case in which a defendant is serving a term of
              imprisonment, and the guideline range applicable to that
              defendant has subsequently been lowered as a result of an
              amendment to the Guidelines Manual listed in subsection (d)
              below, the court may reduce the defendant’s term of
              imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
              required by 18 U.S.C. § 3582(c)(2), any such reduction in the
              defendant’s term of imprisonment shall be consistent with this
              policy statement.
USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1) (“Eligibility for
consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in
subsection (d) that lowers the applicable guideline range . . . .”). In addition to specifying
which federal sentencing guidelines may be retroactively applied, USSG §1B1.10 guides


                                              2

   Case 6:11-cr-02025-CJW-MAR           Document 646       Filed 12/04/15     Page 2 of 5
the court as to the amount by which a sentence may be reduced under 18 U.S.C. §
3582(c)(2). See USSG §1B1.10(b)(1).
       On July 18, 2014, the United States Sentencing Commission unanimously voted to
apply Amendment 782 (subject to subsection (e)(1)) retroactively to most drug trafficking
offenses, and it set November 1, 2014 as the date that Amendment 782 (subject to
subsection (e)(1)) would go into effect. Stated differently, Amendment 782 (subject to
subsection (e)(1)) is included within subsection (d) of USSG §1B1.10. Consequently,
under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10, the court may rely on Amendment 782
(subject to subsection (e)(1)) to reduce a defendant’s sentence. But, even if Amendment
782 (subject to subsection (e)(1)) is applicable, a special limiting instruction applies: “The
court shall not order a reduced term of imprisonment based on Amendment 782 unless the
effective date of the court’s order is November 1, 2015, or later.” USSG §1B1.10(e)(1);
see also Amendment 788 (amending USSG §1B1.10).
       At the court’s request, the United States Probation Office prepared a memorandum
that, among other things, addresses the defendant’s eligibility for a sentence reduction
under 18 U.S.C. § 3582(c)(2) and calculates the defendant’s amended guideline range.
The United States Probation Office also provided the court with additional information in
support of its memorandum.        That information includes, but is not limited to, the
defendant’s pre-sentence investigation report and the Federal Bureau of Prison’s report on
the defendant.
       Regarding a reduction in sentence pursuant to 18 U.S.C. § 3582(c)(2), the court
held a hearing on December 2, 2015. Consistent with the findings that the court made
during the hearing concerning Amendment 782 (subject to subsection (e)(1)), the court
concludes that a reduction under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10 is justified.
See United States v. Curry, 584 F.3d 1102, 1104 (8th Cir. 2009) (discussing United States
v. Wyatt, 115 F.3d 606, 608-09 (8th Cir. 1997)) (explaining requirements under USSG
§1B1.10(b)). Having reviewed the defendant’s file, the provisions and commentary of

                                              3

   Case 6:11-cr-02025-CJW-MAR           Document 646       Filed 12/04/15     Page 3 of 5
USSG §1B1.10, the factors set forth in 18 U.S.C. § 3553(a), the nature and seriousness
of the danger to any person or community that may be posed by a reduction in the
defendant’s term of imprisonment and the defendant’s post-sentencing conduct, the court
deems it appropriate to exercise its discretion and grant the defendant a reduction under
18 U.S.C. § 3582(c)(2) and USSG §1B1.10.1 The defendant’s previously imposed 327
month term of imprisonment, as reflected in the judgment dated January 30, 2014, is
reduced to 262 months imprisonment. The defendant’s new sentence of 262 months
imprisonment applies to count 1 and count 3 of the indictment. Except as provided above,
all provisions of the judgment dated January 30, 2014 remain in effect. The duration and
conditions of the defendant’s supervised release remain unchanged.
        The clerk’s office is directed to send and fax or email a copy of this order to the
Federal Bureau of Prisons, that is, the place where the defendant, USM No. 12383-273,
is currently incarcerated. The clerk’s office is also directed to send a copy of this order
to the defendant, appointed counsel, the office of the Federal Public Defender, the office




        1
            For purposes of the instant order, the court relied on the following determinations:
 Previous Offense Level:      37                      Amended Offense Level:       35

 Criminal History Category:   III                     Criminal History Category:   III

 Previous Guideline Range:    262 to 327 months       Amended Guideline Range:     240 to 262 months
                                                                                   (USSG §5G1.1(c)(2))
The reduced sentence of 262 months imprisonment on count 1 and count 3 of the
indictment is within the amended guideline range.

                                                  4

   Case 6:11-cr-02025-CJW-MAR               Document 646          Filed 12/04/15         Page 4 of 5
of the United States Attorney and the office of United States Probation.
      IT IS SO ORDERED.
      DATED this 4th day of December, 2015.




                                           5

   Case 6:11-cr-02025-CJW-MAR         Document 646      Filed 12/04/15     Page 5 of 5
